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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MINNESOTA

SMARTMATIC USA CORP., SMARTMATIC
INTERNATIONAL HOLDING B.V. and SGO
CORPORATION LIMITED,

Plaintiffs,
Case No. 22-cv-00098- WMW-JED
Vv.

MICHAEL J. LINDELL and MY PILLOW, INC.,

Defendants.

TO: PLAINTIFFS, THROUGH THEIR COUNSEL OF RECORD, J. ERIK
CONNOLLY, BENESCH, FRIEDLANDER, COPLAN & ARONOFF LLP, 71
SOUTH WACKER DRIVE, SUITE 1600, CHICAGO, IL 60606.

DEFENDANT MICHAEL J. LINDELL’S ANSWERS TO PLAINTIFFS’ FIRST
SET OF INTERROGATORIES

Defendant Michael J. Lindell (‘Lindell” or “Defendant’’) for his objections and
answers to Plaintiffs’ First Set of Interrogatories states as follows:

GENERAL OBJECTIONS

1. Defendant objects to Plaintiffs’ Interrogatories to the extent they call for the
disclosure of information protected by any privilege. To the extent any Answer states that
documents or information will be produced, that shall not include privileged documents
or information. In the event any documents or information provided in response to any
Interrogatory contains privileged documents or information, such production is
inadvertent. No answer by Defendant contained herein shall constitute a waiver of a
privilege or any other protection from discovery.

2. Defendant objects to Plaintiffs’ Interrogatories to the extent they are vague,
overly broad, unduly burdensome, oppressive, not limited in time frame or scope, or
propounded for an improper purpose, including to harass Defendant, or are otherwise in
violation of any provision of the discovery rules of the Federal Rules of Civil Procedure.

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3. Defendant objects to Plaintiffs’ Interrogatories to the extent they seek
information that is not relevant, inadmissible at trial, not calculated to lead to the
discovery of admissible evidence, lacking in foundation, or improper in form. Defendant
does not waive any general or particular objection in the event any information is
provided that is within the scope of this objection.

4, Defendant objects to Plaintiffs’ Interrogatories to the extent they are
unreasonably cumulative, duplicative, or seek information obtainable from some other
source that is more convenient, less burdensome, or less expensive, without limitation,
information already in the possession, custody or control of Plaintiffs or their counsel, or
which have already been provided in this litigation.

5. Defendant objects to Plaintiffs’ Interrogatories to the extent they are vague
or ambiguous or contain undefined terms and improperly require Defendant to speculate
about the intended meaning.

6. - Defendant objects to Plaintiffs’ Interrogatories to the extent they require
Defendant to guess or speculate as to the knowledge, information, thoughts, beliefs,
actions, motivations, or intentions of other parties over whom Defendant has no control.

7. Defendant objects to Plaintiffs’ Interrogatories to the extent they seek
information that is not in Defendant’s possession, custody, or control.

8. Defendant objects to Plaintiffs’ Interrogatories to the extent they seek
information unrelated to the issues in this litigation.

9. Subject to the objections otherwise set forth, to the extent any
Interrogatories state that documents will be produced, such documents will be produced
at a date, time, and place and in a manner agreed to by counsel for the parties.

10. Discovery is continuing and not complete. Defendant has not concluded a
full investigation of the facts relating to this case, formal discovery, or preparation for
trial. Defendant reserves the right to rely upon additional information and documents
uncovered through further investigation of this matter.

11. Defendant expressly incorporates these General Objections into each
Answer below. Every Answer is made subject to and without waiving or limiting these
General Objections or any other objections stated in the Interrogatories.

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ANSWERS AND OBJECTIONS TO INTERROGATORIES

INTERROGATORY NO. 1 Identify every statement about SMARTMATIC
that you have published and state the date of the statement and where it was published,
including all republications.

ANSWER: Defendant objects to this Interrogatory because it seeks the discovery
of information that is not relevant to any party’s claims or defenses. Defendants further
object to this Interrogatory because it is overbroad by requesting Defendants to recount
every statement made about Plaintiffs, regardless of whether the statements relate to this
litigation, and then investigate every way each such statement was republished. Subject to
the foregoing, Defendant directs Plaintiffs to documents produced in this litigation and
the documents attached to Plaintiffs’ Complaint.

INTERROGATORY NO. 2 Identify all Persons, including MY PILLOW
EMPLOYEES, who drafted, edited, reviewed, developed, investigated, approved,
produced, directed, made any decision regarding, appeared on, or otherwise contributed
to, any aspect of the ACCUSED PROGRAMS, DEFAMATORY BROADCASTS,
LINDELL APPEARANCES, or the “March for Trump” tour and tour bus referenced in
paragraph 76 of the Complaint. For each, include the person’s name, title, and contact
information, and describe his or her involvement.

ANSWER: Defendant objects to this Interrogatory because it seeks the discovery
of information that is not relevant to any party’s claims or defenses, in particular because
it seeks information related to companies other than Plaintiffs. Defendant further objects
to this Interrogatory because it is overbroad by requesting Defendant to produce
information about the topics identified regardless of whether the statements relate to this
litigation. Defendant further objects to this Interrogatory to the extent it seeks information
about communications protected by the attorney-client privilege, the work product
doctrine, or another limitation on Defendant’s discovery obligations. Subject to the
foregoing, Defendant states that Mr. Lindell was responsible for the statements
referenced and those statements were made in his personal capacity and not as a My
Pillow, Inc., employee or agent. Other individuals may have performed administrative
tasks, but were not responsible for developing content. Discovery continues.

INTERROGATORY NO. 3 Identify all Persons who drafted, edited,
reviewed, developed, investigated, approved, produced, directed, made any decision, or
otherwise contributed to the content of any segment, interview, statement, post, or article
published on any LINDELL WEBSITE, MYPILLOW.COM account, or your personal
and/or professional social media accounts, regarding SMARTMATIC, DOMINION,
and/or the election technologies and systems used during the 2020 PRESIDENTIAL
ELECTION. For each, identify the person’s job title, employer, his or her role regarding
the content, including whether they drafted, edited, reviewed, investigated, directed,

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approved, or made any decision regarding the content, segment, interview, statement,
article, or social media post, and the person’s relationship to You or MY PILLOW, if
any.

ANSWER: Defendant objects to this Interrogatory because it seeks the discovery
of information that is not relevant to any party’s claims or defenses, in particular because
it seeks information related to companies other than Plaintiffs. Defendant further objects
to this Interrogatory because it is overbroad by requesting Defendant to produce
information about the topics identified regardless of whether the statements relate to this
litigation. Defendant further objects to this Interrogatory to the extent it seeks information
about communications protected by the attorney-client privilege, the work product
doctrine, or another limitation on Defendant’s discovery obligations. Subject to the
foregoing, Defendant states that Mr. Lindell was responsible for developing the
referenced content, and did so in his personal capacity and not as a My Pillow, Inc.,
employee. Other individuals may have performed administrative tasks, but were not
responsible for developing content. Discovery continues.

INTERROGATORY NO. 4 Identify all sources of information that You used
for the ACCUSED PROGRAMS, DEFAMATORY BROADCASTS, DEFAMATORY
STATEMENTS, or LINDELL APPEARANCES. For documents, list the Persons,
including any LINDELL EMPLOYEES or MY PILLOW EMPLOYEES, OTHER
NEWS ORGANIZATIONS, and Persons affiliated with You, who reviewed the
documents, when he or she received and/or reviewed them, and describe the documents.
For Persons interviewed or contacted, list their name, employer, title, and contact
information, and describe their interaction with You, including the dates of any

_interview(s), the Person(s) affiliated with You who interviewed or contacted them, and
the information they provided to You. For any other sources, describe the source and the
information provided.

ANSWER: Defendant objects to this Interrogatory because it seeks the discovery
of information that is not relevant to any party’s claims or defenses, in particular because
it seeks information related to companies other than Plaintiffs. Defendant further objects
to this Interrogatory because it is overbroad by requesting Defendant to produce
information about the topics identified regardless of whether the statements relate to this
litigation. Subject to the foregoing, Defendant states that Mr. Lindell utilized information
learned from his guests to develop content for the identified broadcasts and appearances.
Defendant directs Plaintiffs to the documents produced in response to Plaintiffs’ Requests
for Production of Documents for additional information. Discovery continues.

INTERROGATORY NO. 5 Identify and describe all information provided
to You regarding SMARTMATIC, DOMINION, or any allegation of fraud or
irregularities involving the election technologies or systems used during the 2020
PRESIDENTIAL ELECTION, including but not limited to, information provided by the

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GUESTS, and state the date the information was received, the form of the information,
the person or entity who provided it, and the manner in which it was received by You.

ANSWER: Defendant objects to this Interrogatory because it seeks the discovery
of information that is not relevant to any party’s claims or defenses, in particular because
it seeks information related to companies other than Plaintiffs. Defendant further objects
to this Interrogatory because it is overbroad by requesting Defendant to produce
information about the topics identified regardless of whether the statements relate to this
litigation. Subject to the foregoing, Defendant states that Mr. Lindell utilized information
from a variety of sources to develop content for the identified broadcasts and
appearances. Defendant directs Plaintiffs to the documents produced in response to
Plaintiffs’ Requests for Production of Documents for additional information. Discovery
continues.

INTERROGATORY NO. 6 Identify and describe all compensation,
consideration, or non-monetary exchange of value provided by you to any GUESTS from
January 1, 2018 to the present. For any monetary exchange, describe the amount, date,
and nature of each compensation. For any non-monetary exchange, describe what was
exchanged and when.

ANSWER: Defendant is unaware of any compensation, consideration, or non-
monetary exchange provided to the identified individuals, with the exception of an
executive-producer fee paid to Mary Fanning in connection with the Absolute Proof and
Absolute Interference documentaries. Discovery continues.

INTERROGATORY NO. 7 Identify all actions that were taken to assess,
analyze, examine, investigate, explore, test, probe, confirm, or evaluate, directly or
indirectly, the truth, falsity, veracity, accuracy, or inaccuracy of the information and/or
Persons providing the information for the DEFAMATORY STATEMENTS prior to their
being aired, and/or after re-airing or otherwise publishing them. For each action, state
when it took place, who performed the action, and who was aware of the action, including
Yourself.

ANSWER: Defendant objects to this Interrogatory because it seeks the discovery
of information that is not relevant to any party’s claims or defenses, in particular because
it seeks information related to companies other than Plaintiffs. Subject to the foregoing,
Defendant states that Mr. Lindell utilized information from a variety of sources to
develop content for the identified broadcasts and appearances. Defendant directs
Plaintiffs to the documents produced in response to Plaintiffs’ Requests for Production of
Documents for additional information. Plaintiffs are further directed to the response and
objection to Interrogatory Number 4. Discovery continues.

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INTERROGATORY NO. 8 Identify all Persons who sponsored or otherwise
provided financing for the ACCUSED PROGRAMS, DEFAMATORY BROADCASTS,
or the “March for Trump” tour and tour bus referenced in paragraph 76 of the Complaint,
and state the amount of money that each Person contributed.

ANSWER: Defendant objects to this Interrogatory because it seeks the discovery
of information that is not relevant to any party’s claims or defenses. Subject to the
foregoing, Defendant states that My Pillow contributed $100,000.00 to the March for
Trump via wire dated December 4, 2020. There are no other known financial resources or
monetary support known to exist at this time that are otherwise responsive to this
Interrogatory. Discovery continues.

INTERROGATORY NO. 9 Identify all communications or interactions You
had with DONALD TRUMP, the TRUMP ADMINISTRATION, the TRUMP
CAMPAIGN, or the RNC, between January 1, 2020 and the filing of the COMPLAINT,
and for each communication or interaction, identify the substance of the communication
or interaction, who the communication was with, and the date, time, and location of each
communication or interaction.

ANSWER: Defendant objects to this Interrogatory because it seeks the discovery
of information that is not relevant to any party’s claims or defenses, in particular because
it requests Defendant to produce information about the topics identified regardless of
whether the statements relate to this litigation. Subject to the foregoing, Defendant directs
Plaintiffs to the documents produced in response to Plaintiffs’ Requests for Production of
Documents for additional information. Discovery continues.

INTERROGATORY NO.10 Identify all instances in which You donated or
contributed money to a political candidate, campaign, or cause, including but not limited
to DONALD TRUMP, the TRUMP CAMPAIGN, the TRUMP ADMINISTRATION, or
the RNC, from January 1, 2016 to the present. Your response should identify the
candidate, campaign or cause, the date of the donation or contribution, and the amount of
the donation or contribution.

ANSWER: Defendant objects to this Interrogatory because it seeks the discovery
of information that is not relevant to any party’s claims or defenses, in particular because
it requests Defendant to produce information about the topics identified regardless of
whether the statements relate to this litigation. Discovery continues.

INTERROGATORY NO. 11 Identify all individuals involved in the
preparation, planning, and/or execution of the “March for Trump” tour and tour bus
referenced in paragraph 76 of the COMPLAINT. Your response should identify the
individual and the nature of their involvement.

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ANSWER: Defendant objects to this Interrogatory because it seeks the discovery
of information that is not relevant to any party’s claims or defenses, in particular because
it requests Defendant to produce information about the topics identified regardless of
whether the statements relate to this litigation. Discovery continues.

INTERROGATORY NO. 12 Identify all instances in which you received,
heard, or otherwise acquired information providing that SMARTMATIC contracted only
with Los Angeles County in connection with the 2020 PRESIDENTIAL ELECTION. For
each instance, your response should provide the date and source of the information.

ANSWER: Defendant objects to this Interrogatory to the extent it seeks
information about communications protected by the attorney-client privilege, the work
product doctrine, or another limitation on Defendant’s discovery obligations. Defendants
further object to this Interrogatory because it is overbroad by requesting Defendant to
produce information about information about statements that are not alleged to be
defamatory or inside the timeframe of Plaintiffs’ claims. Subject to the foregoing,
Defendant states that it has no non-privileged information responsive to this in response
to this Interrogatory. Discovery continues.

INTERROGATORY NO. 13 — State the total amount of money expended to
investigate, draft, develop, edit, review, report, produce, and publish each ACCUSED
PROGRAM or DEFAMATORY BROADCAST.

ANSWER: Defendant objects to this Interrogatory because it seeks the discovery
of information that is not relevant to any party’s claims or defenses. Defendant further
objects to this Interrogatory to the extent it seeks information about communications
protected by the attorney-client privilege, the work product doctrine, or another limitation
on Defendant’s discovery obligations. Discovery continues.

INTERROGATORY NO. 14 If you contend that any of the DEFAMATORY
STATEMENTS are true, substantially true, accurate, not misleading, and/or not
defamatory, describe all facts and identify all documents that You claim support or
establish that such statements are true, substantially true, accurate, not misleading, and/or
not defamatory.

ANSWER: Defendant objects to this Interrogatory to the extent it seeks
information about communications protected by the attorney-client privilege, the work
product doctrine, or another limitation on Defendant’s discovery obligations. Subject to
the foregoing, Defendant is directed to the documents produced in response to Plaintiffs’
Requests for Production of Documents. Discovery continues.

INTERROGATORY NO. 15 Identify all metrics You use to quantify the
number of individuals who viewed an ACCUSED PROGRAM or DEFAMATORY

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BROADCAST and provide the corresponding data for each ACCUSED PROGRAM or
DEFAMATORY BROADCAST.

ANSWER: Defendant did not utilize metrics to quantify the number of
individuals who viewed the media referenced.

INTERROGATORY NO. 16 — Identify all Persons who provided information
to answer any of Smartmatic’s interrogatories.

ANSWER: These Interrogatory Answers were completed by the undersigned with
the assistance of counsel.

INTERROGATORY NO.17 Identify all Persons whom You expect will
testify at trial or will otherwise present evidence in this ACTION.

ANSWER: Defendant has not yet determined who will testify at trial in this
matter. This response will be supplement in accordance with the Federal Rules of Civil
Procedure and the Court’s Scheduling Order.

INTERROGATORY NO. 18 Identify all communications regarding
LINDELL’S promotion of MY PILLOW or its products in connection with the
ACCUSED PROGRAMS, DEFAMATORY BROADCASTS, DEFAMATORY
STATEMENTS, the LINDELL APPEARANCES, or the “March for Trump” tour and
tour bus referenced in paragraph 76 of the COMPLAINT. For all responsive
communications, identify the individuals involved in the communication, the date
of the communication, the medium of the communication, and the substance of the
communication.

ANSWER: Defendant objects to this Interrogatory because it seeks the discovery
of information that is not relevant to any party’s claims or defenses, in particular because
it seeks information about communications unrelated to this litigation. Subject to the
foregoing Defendant states that promotional codes were used in the broadcasts and
appearances referenced. Plaintiffs are further directed to Defendants’ responses to
Plaintiffs’ Requests for Production of Documents. Discovery continues.

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DATED: December 5, 2022.

PARKER DANIELS KIBORT LLC

By /s/ Matthew R. Eslick

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ATTORNEYS FOR DEFENDANTS

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VERIFICATION

I declare under penalty of perjury that everything I have stated ja this document is

true and correct.

Dated: 2-§-22 Jihe
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